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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF RHODE ISLAND


In Re: DAVID W. WAGNER                                                      18-10071
                                                                            Chapter 7


STACY B. FERRARA, TRUSTEE
VS.                                                                         A.P. 19-AP-01010
DAVID W. WAGNER


                        JOINT MOTION TO EXTEND DEADLINES


       Now comes the Debtor David Wagner (“Debtor/Defendant”) and the Chapter 7 Trustee
Stacy B. Ferrara (“Trustee”) and request that the Court extend the deadlines for filing Discovery
Plan and Scheduling Order in the above Adversary Proceeding.
       As grounds therefore, the Debtor and Trustee state as follows:
       1. The Defendant filed a Chapter 7 case pro se on January 17, 2018.
       2. The Plaintiff filed the within complaint on March 29, 2019 objecting to the Debtor’s
discharge under 11 U.S.C. § 727.
        3. There are several adversary proceedings presently pending before the Court, including
this proceeding.
      4. The Debtor has recently become involved in Federal Court proceedings in
Massachusetts and in the South District of New York.
       5. On April 23, 2019 the Court entered pre-trial scheduling orders in this Adversary
Proceeding for filing the Discovery Plan on July 15, 2019 and the Scheduling Order on July 22,
2019.
        6. On May 8, 2019 the Court updated the aforementioned deadlines to July 1, 2019 for the
filing of the Discovery Plan and to July 8, 2019 for the filing of the Scheduling Order.
       7. Plaintiff and Defendant request that this Court extend the time for the filing of both the
Discovery Plan and Scheduling Order for a period of thirty (30) days, to August 1, 2019 for filing
the Discovery Plan and to August 8, 2019 for the filing of the Scheduling Order.
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        WHEREFORE, the Debtor and Trustee respectfully request that the Court extend the
deadline for filing the Discovery Plan and Scheduling Order each for a period of thirty (30) days,
and for such other and further relief as is appropriate.


                                                    Respectfully submitted,
                                                    Trustee Stacy B. Ferrara
                                                    by and through her attorney,

                                                    /s/ Peter J. Furness, Esq.
                                                    Richardson, Harrington & Furness
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                                                    401-273-9600
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                                                    Debtor/Defendant
                                                    David W. Wagner
                                                    By his attorneys,

                                                    /s/ Russell D. Raskin, Esq.
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